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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                 Chapter 11

                                                           Case No. 23-11069 (CTG)
                                           1
    YELLOW CORPORATION, et al.,
                                                           (Jointly Administered)
                           Debtors.
                                                           Re: Docket Nos. 334, 344, 358, 423, 553, 608, 615, 630,
                                                           650, 659, 684, 741, 758, 770, 783, 789, 827

           JOINDER OF THE OFFICIAL COMMITTEE OF UNSECURED
     CREDITORS OF YELLOW CORPORATION, ET AL., TO DEBTORS’ OMNIBUS
    OBJECTION TO PERSONAL INJURY CLAIMANT MOTIONS FOR RELIEF FROM
     THE AUTOMATIC STAY UNDER SECTION 362 OF THE BANKRUPTCY CODE

             The Official Committee of Unsecured Creditors (the “Committee”) appointed in the

chapter 11 cases of the above-captioned debtors and debtors in possession (collectively, the

“Debtors”), by and through its undersigned counsel, hereby files this joinder (the “Joinder”) to join

in and adopt the arguments submitted by the Debtors in the Debtors’ Omnibus Objection to

Personal Injury Claimant Motions for Relief from the Automatic Stay Under Section 362 of the

Bankruptcy Code [Docket No. 827] (the “Omnibus Objection”). In support of this Joinder, the

Committee respectfully states as follows.

                                                   JOINDER

             1.    The Committee expressly joins, adopts, and incorporates the legal arguments set

forth in the Omnibus Objection and submits that the Lift-Stay Motions should be denied.




1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place
of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland
Park, Kansas 66211.
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       2.     The Committee expressly reserves all rights with respect to the Lift-Stay Motions

and the Omnibus Objection, including the right to supplement and join in any other filings and to

present further arguments at any hearing on the Lift-Stay Motions.

                         [Remainder of Page Intentionally Left Blank]




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Dated: October 20, 2023           BENESCH, FRIEDLANDER,
       Wilmington, Delaware         COPLAN & ARONOFF LLP

                                  /s/ Jennifer R. Hoover
                                  Jennifer R. Hoover (DE No. 5111)
                                  Kevin M. Capuzzi (DE No. 5462)
                                  John C. Gentile (DE No. 6159)
                                  1313 North Market Street, Suite 1201
                                  Wilmington, DE 19801
                                  Telephone: (302) 442-7010
                                  Facsimile: (302) 442-7012
                                  E-mail: jhoover@beneschlaw.com
                                             kcapuzzi@beneschlaw.com
                                             jgentile@beneschlaw.com

                                  - and -

                                  AKIN GUMP STRAUSS HAUER & FELD LLP
                                  Philip C. Dublin (pro hac vice)
                                  Meredith A. Lahaie (pro hac vice)
                                  Kevin Zuzolo (pro hac vice)
                                  One Bryant Park
                                  New York, NY 10036
                                  Telephone: (212) 872-1000
                                  Facsimile: (212) 872-1002
                                  Email: pdublin@akingump.com
                                          mlahaie@akingump.com
                                          kzuzolo@akingump.com


                                 Counsel to the Official Committee of Unsecured
                                 Creditors




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